                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                     )
SHAWN BRISCOE,                       )
                                     )
                  Plaintiff,         )
      v.                             )
                                     )       Docket No. 19-cv-00029-SDD-EWD
JAMES LeBLANC, et al.,               )
                                     )
                  Defendants.        )
___________________________________  )

  DECLARATION OF DAVID LANSER IN SUPPORT OF MOTION FOR LEAVE OF
         COURT TO CONDUCT LIMITED EXPEDITED DISCOVERY

I, David Lanser, of New Orleans, Louisiana, declare the following:

    1. I have personal knowledge of the matters stated in this declaration and could competently

testify to the same if called upon to do so.

    2. Prior to filing this case, I made several attempts to identify Sgt. Stewart and Doe

Defendant through interviewing Plaintiff Shawn Briscoe and attempting to access public records

that could lead to their identities.

    3. On January 11, 2019, I met with Mr. Briscoe at the Jefferson Parish Correctional Center

to review the alleged facts to include in the Complaint. I specifically asked him if he was able to

provide any further identifying features of Sgt. Stewart and Doe Defendant, but he said that he

could not identify them beyond Sgt. Stewart’s name and rank.

    4. On January 14, 2019, I called the Iberville Parish District Attorney’s Office to ask if any

documents from the criminal case against Darryl Harris – Mr. Briscoe’s attacker – could be

produced, but was told that no documents related to the attack could be produced until the

criminal prosecution concluded.




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   5. In that phone call, I also learned that Mr. Harris’ case had been delayed in part because

he did not have an attorney. Although there was a scheduled motion date of March 14, 2019, by

which Mr. Harris was expected to hire an attorney, even if the case concluded that day Mr.

Briscoe could not wait that long to file his lawsuit due to a prescription issue.

   6. On March 11, 2019, after filing the Complaint, I called the Louisiana Department of

Public Safety & Corrections and spoke to Rhonda Wheldon in an attempt to identify Sgt.

Stewart. Ms. Wheldon said that she would look into the matter and let me know if it was possible

to identify Sgt. Stewart.

   7. On March 12, 2019, Rhonda Wheldon called me back and said that she had searched for

a Sgt. Stewart employed at Elayn Hunt Correctional Center on the day in question, but that there

were enough individuals with the last name Stewart that she was unable to speculate which was

the proper defendant.

   8. On March 26, 2019, I called the Iberville Parish District Attorney’s Office and learned

that the Darryl Harris case is still ongoing, and therefore I would not be able to access any of the

documentation protected by the ongoing prosecution that might help reveal the identities of Sgt.

Stewart and Doe Defendant.

   9. On April 1, 2019, I served summons for James LeBlanc and Timothy Hooper on Rhonda

Weldon who is legally designated to accepted service on behalf of the Louisiana Department of

Public Safety & Corrections. However, Ms. Weldon refused service for Sgt. Stewart, explaining

again that she could not be identified.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 2, 2019

                               /s/ David Lanser
                               DAVID LANSER


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La. Bar No. 37764
Law Office of William Most
201 St. Charles Ave., Ste. 114, #101
New Orleans, LA 70170
(504) 533-4521
David.lanser@gmail.com




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